USCA Case #22-3062      Document #2011096           Filed: 08/04/2023       Page 1 of 47
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                                                           August 4, 2023

Ms. Laura Morgan
Clerk's Office
U.S. Court of Appeals for the D.C. Circuit
333 Constitution Avenue, NW Rm 5205
Washington DC 20001

                    Re: United States v. Thomas Robertson,
                        Appeal No. 22-3062

      Dear Ms. Morgan,

      In accord with FRAP 28(j), Appellant notifies the Court of the attached
August 1, 2023 Indictment in United States v. Trump, No. 23-CR-00257-TSC
(D.D.C.) (the "Trump Indictment").

      Because the mens rea requirement of a statute does not change from
indictment to indictment, acting "corruptly" cannot mean one thing for one
person accused of violating 18 U.S.C. § 1512(c)(2), and something else for
another. In the present case, the government asserted:

             Although the 'corruptly' definition that Robertson
             offered after trial - that it requires a dishonest intent to
             benefit oneself - would be sufficient to prove that a
             defendant acted corruptly, [it is not] necessary to prove
             corrupt intent for purposes of congressional or judicial
             obstruction.

(Gov't Br. 19) (first emphasis added).
USCA Case #22-3062      Document #2011096           Filed: 08/04/2023   Page 2 of 47


      Thus, the government took the position that for Robertson to violate §
1512(c)(2) it sufficed that he was "using unlawful means" (e.g. brandishing a
wooden stick; breaking into the Capitol); it was unnecessary to prove that he
"acted dishonestly." Gov't Br. 33-35.

       Count 3 of the Trump Indictment also charges a violation of 18 U.S.C. §
1512(c)(2). It recognizes that the defendant did not use unlawful means: even if
the speech he gave outside the White House on January 6 "falsely" claimed
victory, he had a "right" to say this. ,i 3. What allegedly turned the defendant's
conduct into a § 1512(c)(2) violation was that he "obstruct[ed] ... the federal
government function through dishonesty, fraud and deceit." ,i 10.

       These positions are inconsistent. The Trump Indictment position is the
correct one: dishonesty and deceit are necessary to establish corrupt intent. See
Arthur Andersen v. United States, 544 U.S. 696, 706 (2005) (faulting jury
instructions on "corruptly" that "no longer made any type of 'dishonest[y]'
necessary to a finding of guilt.").

       Robertson did not act dishonestly.        He was one of the participants
"deceived" by "repeated knowingly false claims of election fraud" into believing
the Vice-President -- whom the defendant allegedly told: "You're too honest" --
could change the result. ,i,i 10 (d) & (e) & 90(c). Deceit is at the heart of corrupt
intent; being deceived is not.




                                       Respectfully submitted,



                                       /s/ Timothy Cone
                                       Timothy Cone, Esq.
                                       Counsel Appointed by the Court
                                       For Appellant Robertson
USCA Case #22-3062   Document #2011096   Filed: 08/04/2023   Page 3 of 47
                           Exhibit 1
USCA Case #22-3062           Document #2011096                 Filed: 08/04/2023         Page 4 of 47
          Case 1:23-cr-00257-TSC          Document 1       Filed 08/01/23     Page 1 of 45




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA                       *     CRIMINAL NO.
                                                   *
           v.                                      *     GRAND JURY ORIGINAL
                                                   *
    DONALD J. TRUMP,                               *     VIOLATIONS:
                                                   *
                  Defendant.                       *     Count 1: 18 U.S.C. § 371
                                                   *     (Conspiracy to Defraud the United
                                                   *     States)
                                                   *
                                                   *     Count 2: 18 U.S.C. § 1512(k)
                                                   *     (Conspiracy to Obstruct an Official
                                                   *     Proceeding)
                                                   *
                                                   *      Count 3: 18 U.S.C. §§ 1512(c)(2), 2
                                                   *      (Obstruction of and Attempt to
                                                   *      Obstruct an Official Proceeding)
                                                   *
                                                   *      Count 4: 18 U.S.C. § 241
                                                   *      (Conspiracy Against Rights)
                                                   *
                                           INDICTMENT

          The Grand Jury charges that, at all times material to this Indictment, on or about the dates

   and at the approximate times stated below:

                                          INTRODUCTION

          1.     The Defendant, DONALD J. TRUMP, was the forty-fifth President of the United

   States and a candidate for re-election in 2020. The Defendant lost the 2020 presidential election.

          2.     Despite having lost, the Defendant was determined to remain in power. So for more

   than two months following election day on November 3, 2020, the Defendant spread lies that there

   had been outcome-determinative fraud in the election and that he had actually won. These claims

   were false, and the Defendant knew that they were false. But the Defendant repeated and widely
USCA Case #22-3062
        Case           Document Document
             1:23-cr-00257-TSC  #2011096 1 FiledFiled: 08/04/2023
                                                 08/01/23   Page 2 of Page
                                                                      45   5 of 47




   disseminated them anyway-to make his knowingly false claims appear legitimate, create an

   intense national atmosphere of mistrust and anger, and erode public faith in the administration of

   the election.

           3.      The Defendant had a right, like every American, to speak publicly about the

   election and even to claim, falsely, that there had been outcome-determinative fraud during the

   election and that he had won. He was also entitled to formally challenge the results of the election

   through lawful and appropriate means, such as by seeking recounts or audits of the popular vote

   in states or filing lawsuits challenging ballots and procedures.      Indeed, in many cases, the

   Defendant did pursue these methods of contesting the election results. His efforts to change the

   outcome in any state through recounts, audits, or legal challenges were uniformly unsuccessful.

           4.      Shortly after election day, the Defendant also pursued unlawful means of

   discounting legitimate votes and subverting the election results.     In so doing, the Defendant

   perpetrated three criminal conspiracies:

                   a.     A conspiracy to defraud the United States by using dishonesty, fraud, and
                          deceit to impair, obstruct, and defeat the lawful federal government function
                          by which the results of the presidential election are collected, counted, and
                          certified by the federal government, in violation of 18 U.S.C. § 371;

                   b.     A conspiracy to corruptly obstruct and impede the January 6 congressional
                          proceeding at which the collected results of the presidential election are
                          counted and certified ("the certification proceeding"), in violation of 18
                          U.S.C. § l 512(k); and

                   c.     A conspiracy against the right to vote and to have one's vote counted, in
                          violation of I 8 U.S.C. § 241.

   Each of these conspiracies-which built on the widespread mistrust the Defendant was creating

   through pervasive and destabilizing lies about election fraud-targeted a bedrock function of the

   United States federal government: the nation's process of collecting, counting, and certifying the

   results of the presidential election ("the federal government function").



                                                   -2-
USCA Case #22-3062     Document #2011096       Filed: 08/04/2023   Page 6 of 47
        Case 1:23-cr-00257-TSC Document 1 Filed 08/01/23 Page 3 of 45




                                            COUNT ONE
                       (Conspiracy to Defraud the United States-18 U.S.C. § 371)

           5.     The allegations contained in paragraphs 1 through 4 of this Indictment are re-

   alleged and fully incorporated here by reference.

                                             The Conspiracy

           6.     From on or about November 14, 2020, through on or about January 20, 2021, in the

   District of Columbia and elsewhere, the Defendant,

                                          DONALD J. TRUMP,

   did knowingly combine, conspire, confederate, and agree with co-conspirators, known and

   unknown to the Grand Jury, to defraud the United States by using dishonesty, fraud, and deceit to

   impair, obstruct, and defeat the lawful federal government function by which the results of the

   presidential election are collected, counted, and certified by the federal government.

                                       Purpose of the Conspiracy

           7.     The purpose of the conspiracy was to overturn the legitimate results of the 2020

   presidential election by using knowingly false claims of election fraud to obstruct the federal

   government function by which those results are collected, counted, and certified.

                                   The Defendant's Co-Conspirators

           8.     The Defendant enlisted co-conspirators to assist him in his criminal efforts to

   overturn the legitimate results of the 2020 presidential election and retain power. Among these

   were:

                  a.        Co-Conspirator l, an attorney who was willing to spread knowingly false
                            claims and pursue strategies that the Defendant's 2020 re-election campaign
                            attorneys would not.

                  b.        Co-Conspirator 2, an attorney who devised and attempted to implement a
                            strategy to leverage the Vice President's ceremonial role overseeing the




                                                    - 3 -
USCA Case #22-3062            Document #2011096                   Filed: 08/04/2023          Page 7 of 47
           Case 1:23-cr-00257-TSC           Document 1       Filed 08/01/23      Page 4 of 45




                          certification proceeding to obstruct the certification of the presidential
                          election.

                  c.      Co-Conspirator 3, an attorney whose unfounded claims of election fraud the
                          Defendant privately acknowledged to others sounded "crazy." Nonetheless,
                          the Defendant embraced and publicly amplified Co-Conspirator 3's
                          disinformation.

                  d.      Co-Conspirator 4, a Justice Department official who worked on civil
                          matters and who, with the Defendant, attempted to use the Justice
                          Department to open sham election crime investigations and influence state
                          legislatures with knowingly false claims of election fraud.

                  e.      Co-Conspirator 5, an attorney who assisted in devising and attempting to
                          implement a plan to submit fraudulent slates of presidential electors to
                          obstruct the certification proceeding.

                  f.      Co-Conspirator 6, a political consultant who helped implement a plan to
                          submit fraudulent slates of presidential electors to obstruct the certification
                          proceeding.

                                  The Federal Government Function

          9.      The federal government function by which the results of the election for President

   of the United States are collected, counted, and certified was established through the Constitution

   and the Electoral Count Act (ECA), a federal law enacted in 1887. The Constitution provided that

   individuals called electors select the president, and that each state determine for itself how to

   appoint the electors apportioned to it. Through state laws, each of the fifty states and the District

   of Columbia chose to select their electors based on the popular vote in the state. After election

   day, the ECA required each state to formally determine--or "ascertain"-the electors who would

   represent the state's voters by casting electoral votes on behalf of the candidate who had won the

   popular vote, and required the executive of each state to certify to the federal government the

   identities of those electors. Then, on a date set by the ECA, each state's ascertained electors were

   required to meet and collect the results of the presidential election-that is, to cast electoral votes

   based on their state's popular vote, and to send their electoral votes, along with the state executive's


                                                     -4-
USCA Case #22-3062
       Case            Document Document
             1:23-cr-00257-TSC  #20110961 Filed Filed: 08/04/2023
                                                 08/01/23            Page 8 of 47
                                                           Page 5 of 45




   certification that they were the state's legitimate electors, to the United States Congress to be

   counted and certified in an official proceeding. Finally, the Constitution and ECA required that

   on the sixth of January following election day, the Congress meet in a Joint Session for a

   certification proceeding, presided over by the Vice President as President of the Senate, to count

   the electoral votes, resolve any objections, and announce the result-thus certifying the winner of

   the presidential election as president-elect. This federal government function-from the point of

   ascertainment to the certification-is foundational to the United States' democratic process, and

   until 2021, had operated in a peaceful and orderly manner for more than 13 0 years.

                                         Manner and Means

          10.     The Defendant's conspiracy to impair, obstruct, and defeat the federal government

   function through dishonesty, fraud, and deceit included the following manner and means:

                  a.     The Defendant and co-conspirators used knowingly false claims of election
                         fraud to get state legislators and election officials to subvert the legitimate
                         election results and change electoral votes for the Defendant's opponent,
                         Joseph R. Biden, Jr., to electoral votes for the Defendant. That is, on the
                         pretext of baseless fraud claims, the Defendant pushed officials in certain
                         states to ignore the popular vote; disenfranchise millions of voters; dismiss
                         legitimate electors; and ultimately, cause the ascertainment of and voting
                         by illegitimate electors in favor of the Defendant.

                  b.     The Defendant and co-conspirators organized fraudulent slates of electors
                         in seven targeted states (Arizona, Georgia, Michigan, Nevada, New
                         Mexico, Pennsylvania, and Wisconsin), attempting to mimic the procedures
                         that the legitimate electors were supposed to follow under the Constitution
                         and other federal and state laws. This included causing the fraudulent
                         electors to meet on the day appointed by federal law on which legitimate
                         electors were to gather and cast their votes; cast fraudulent votes for the
                         Defendant; and sign certificates falsely representing that they were
                         legitimate electors. Some fraudulent electors were tricked into participating
                         based on the understanding that their votes would be used only if the
                         Defendant succeeded in outcome-determinative lawsuits within their state,
                         which the Defendant never did. The Defendant and co-conspirators then
                         caused these fraudulent electors to transmit their false certificates to the




                                                  -5-
USCA Case #22-3062
        Case           Document Document
             1:23-cr-00257-TSC  #2011096 1 FiledFiled: 08/04/2023
                                                 08/01/23             Page 9 of 47
                                                            Page 6 of 45




                           Vice President and other government officials to be counted at the
                           certification proceeding on January 6.

                    c.     The Defendant and co-conspirators attempted to use the power and
                           authority of the Justice Department to conduct sham election crime
                           investigations and to send a letter to the targeted states that falsely claimed
                           that the Justice Department had identified significant concerns that may
                           have impacted the election outcome; that sought to advance the Defendant's
                           fraudulent elector plan by using the Justice Department' s authority to
                           falsely present the fraudulent electors as a valid alternative to the legitimate
                           electors; and that urged, on behalf of the Justice Department, the targeted
                           states' legislatures to convene to create the opportunity to choose the
                           fraudulent electors over the legitimate electors.

                    d.     The Defendant and co-conspirators attempted to enlist the Vice President to
                           use his ceremonial role at the January 6 certification proceeding to
                           fraudulently alter the election results. First, using knowingly false claims
                           of election fraud, the Defendant and co-conspirators attempted to convince
                           the Vice President to use the Defendant's fraudulent electors, reject
                           legitimate electoral votes, or send legitimate electoral votes to state
                           legislatures for review rather than counting them. When that failed, on the
                           morning of January 6, the Defendant and co-conspirators repeated
                           knowingly false claims of election fraud to gathered supporters, falsely told
                           them that the Vice President had the authority to and might alter the election
                           results, and directed them to the Capitol to obstruct the certification
                           proceeding and exert pressure on the Vice President to take the fraudulent
                           actions he had previously refused.

                    e.     After it became public on the afternoon of January 6 that the Vice President
                           would not fraudulently alter the election results, a large and angry crowd-
                           including many individuals whom the Defendant had deceived into
                           believing the Vice President could and might change the election results-
                           violently attacked the Capitol and halted the proceeding. As violence
                           ensued, the Defendant and co-conspirators exploited the disruption by
                           redoubling efforts to levy false claims of election fraud and convince
                           Members of Congress to further delay the certification based on those
                           claims.

                The Defendant's Knowlcdgc'of the Falsity of His Election l'rnud Claims

          11.       The Defendant, his co-conspirators, and their agents made knowingly false claims

   that there had been outcome-determinative fraud in the 2020 presidential election. These prolific




                                                     -6 -
USCA CaseCase
          #22-3062     Document #2011096       Filed: 08/04/2023   Page 10 of 47
              1:23-cr-00257-TSC Document 1 Filed 08/01/23 Page 7 of 45




    lies about election fraud included dozens of specific claims that there had been substantial fraud

    in certain states, such as that large numbers of dead, non-resident, non-citizen, or otherwise

    ineligible voters had cast ballots, or that voting machines had changed votes for the Defendant to

    votes for Biden. These claims were false, and the Defendant knew that they were false. In fact,

    the Defendant was notified repeatedly that his claims were untrue-often by the people on whom

    he relied for candid advice on important matters, and who were best positioned to know the facts-

    and he deliberately disregarded the truth. For instance:

                   a.     The Defendant's Vice President-who personally stood to gain by
                          remaining in office as part of the Defendant's ticket and whom the
                          Defendant asked to study fraud allegations-told the Defendant that he had
                          seen no evidence of outcome-determinative fraud.

                   b.     The senior leaders of the Justice Department-appointed by the Defendant
                          and responsible for investigating credible allegations of election crimes-
                          told the Defendant on multiple occasions that various allegations of fraud
                          were unsupported.

                   c.     The Director of National Intelligence-the Defendant's principal advisor
                          on intelligence matters related to national security-e-disabused the
                          Defendant of the notion that the Intelligence Community's findings
                          regarding foreign interference would change the outcome of the election.

                   d.     The Department of Homeland Security's Cybersecurity and Infrastructure
                          Security Agency ("CISA")-whose existence the Defendant signed into
                          law to protect the nation's cybersecurity infrastructure from attack-joined
                          an official multi-agency statement that there was no evidence any voting
                          system had been compromised and that declared the 2020 election "the most
                          secure in American history." Days later, after the CISA Director-whom
                          the Defendant had appointed-announced publicly that election security
                          experts were in agreement that claims of computer-based election fraud
                          were unsubstantiated, the Defendant fired him.

                   e.     Senior White House attorneys-selected by the Defendant to provide him
                          candid advice-informed the Defendant that there was no evidence of
                          outcome-determinative election fraud, and told him that his presidency
                          would end on Inauguration Day in 2021.




                                                   -7-
USCA CaseCase
          #22-3062     Document #2011096
              1:23-cr-00257-TSC Document 1 FiledFiled: 08/04/2023
                                                  08/01/23  Page 8 of Page
                                                                      45   11 of 47




                   f.      Senior staffers on the Defendant's 2020 re-election campaign ("Defendant's
                           Campaign" or "Campaign")-whose sole mission was the Defendant's re-
                           election-told the Defendant on November 7, 2020, that he had only a five
                           to ten percent chance of prevailing in the election, and that success was
                           contingent on the Defendant winning ongoing vote counts or litigation in
                           Arizona, Georgia, and Wisconsin. Within a week of that assessment, the
                           Defendant lost in Arizona-meaning he had lost the election:

                   g.      State legislators and officials-many of whom were the Defendant's
                           political allies, had voted for him, and wanted him to be re-elected-
                           repeatedly informed the Defendant that his claims of fraud in their states
                           were unsubstantiated or false and resisted his pressure to act based upon
                           them.

                   h.      State and federal comts-the neutral arbiters responsible for ensuring the
                           fair and even-handed administration of election laws-rejected every
                           outcome-determinative post-election lawsuit filed by the Defendant, his co-
                           conspirators, and alJies, providing the Defendant real-time notice that his
                           allegations were rneritless.

            12.    The Defendant widely disseminated his false claims of election fraud for months,

    despite the fact that he knew, and in many cases had been informed directly, that they were not

    true. The Defendant's knowingly false statements were integral to his criminal plans to defeat the

    federal government function, obstruct the certification, and interfere with others' right to vote and

    have their votes counted. He made these knowingly false claims throughout the post-election time

    period, including those below that he made immediately before the attack on the Capitol on

    January 6:

                   a.      The Defendant insinuated that more than ten thousand dead voters had voted
                           in Georgia. Just four days earlier, Georgia's Secretary of State had
                           explained to the Defendant that this was false.

                   b.      The Defendant asserted that there had been 205,000 more votes than voters
                           in Pennsylvania. The Defendant's Acting Attorney General and Acting
                           Deputy Attorney General had explained to him that this was false.

                   c.      The Defendant said that there had been a suspicious vote dump in Detroit,
                           Michigan. The Defendant's Attorney General had explained to the
                           Defendant that this was false, and the Defendant's allies in the Michigan



                                                    - 8-
USCA CaseCase
          #22-3062     Document #2011096       Filed: 08/04/2023   Page 12 of 47
              1:23-cr-00257-TSC Document 1 Filed 08/01/23 Page 9 of 45




                          state legislature-the Speaker of the House of Representatives and Majority
                          Leader of the Senate-had publicly announced that there was no evidence
                          of substantial fraud in the state.

                  d.      The Defendant claimed that there had been tens of thousands of double
                          votes and other fraud in Nevada. The Nevada Secretary of State had
                          previously rebutted the Defendant's fraud claims by publicly posting a
                          "Facts vs. Myths" document explaining that Nevada judges had reviewed
                          and rejected them, and the Nevada Supreme Court had rendered a decision
                          denying such claims.

                  e.      The Defendant said that more than 30,000 non-citizens had voted in
                          Arizona. The Defendant's own Campaign Manager had explained to him
                          that such claims were false, and the Speaker of the Arizona House of
                          Representatives, who bad supported the Defendant in the election, had
                          issued a public statement that there was no evidence of substantial fraud in
                          Arizona.

                  f.      The Defendant asserted that voting machines in various contested states had
                          switched votes from the Defendant to Biden. The Defendant's Attorney
                          General, Acting Attorney General, and Acting Deputy Attorney General aJI
                          had explained to him that this was false, and numerous recounts and audits
                          had confirmed the accuracy of voting machines.

             The Crim in al Agreeinen t Mid Acts to Effect the Object of the Conspiracy

                       The Defendant's Use of Deceit to Get State Officials to
                  Subvert the Legitimate Electiori Results ru,d Chnnge Electoral Votes

           13.     Shortly after election day-which fell on November 3, 2020-the Defendant

    launched his criminal scheme. On November 13, the Defendant's Campaign attorneys conceded

    in court that he had lost the vote count in the state of Arizona-meaning, based on the assessment

    the Defendant's Campaign advisors had given him just a week earlier, the Defendant had lost the

    election. So the next day, the Defendant turned to Co-Conspirator 1, whom he announced would

    spearhead his efforts going forward to challenge the election results. From that point on, the

    Defendant and his co-conspirators executed a strategy to use knowing deceit in the targeted states

    to impair, obstruct, and defeat the federal government function, including as described below.




                                                   -9-
USCA Case #22-3062
        Case           Document Document
             1:23-cr-00257-TSC  #2011096 1 FiledFiled: 08/04/2023
                                                 08/01/23   Page 10 ofPage
                                                                       45 13 of 47




                                                 Arizona

           14.     On November 13, 2020, the Defendant had a conversation with his Campaign

   Manager, who informed him that a claim that had been circulating, that a substantial number of

    non-citizens had voted in Arizona, was false.

           15.     On November 22, eight days before Arizona's Governor certified the ascertainment

   of the state's legitimate electors based on the popular vote, the Defendant and Co-Conspirator 1

   called the Speaker of the Arizona House of Representatives and made knowingly false claims of

   election fraud aimed at interfering with the ascertainment of and voting by Arizona's electors, as

    follows:

                   a.     The Defendant and Co-Conspirator 1 falsely asserted, among other things,
                          that a substantial number of non-citizens, non-residents, and dead people
                          had voted fraudulently in Arizona. The Arizona House Speaker asked Co-
                          Conspirator 1 for evidence of the claims, which Co-Conspirator 1 did not
                          have, but claimed he would provide. Co-Conspirator 1 never did so.

                   b..    The Defendant and Co-Conspirator l asked the Arizona House Speaker to
                          call the legislature into session to hold a hearing based on their claims of
                          election fraud. The Arizona House Speaker refused, stating that doing so
                          would require a two-thirds vote of its members, and he would not allow it
                          without actual evidence of fraud.

                   c.     The Defendant and Co-Conspirator l asked the Arizona House Speaker to
                          use the legislature to circumvent the process by which legitimate electors
                          would be ascertained for B iden based on the popular vote, and replace those
                          electors with a new slate for the Defendant. The Arizona House Speaker
                          refused, responding that the suggestion was beyond anything he had ever
                          heard or thought of as something within his authority.

           16.     On December 1, Co-Conspirator I met with the Arizona House Speaker. When the

   Arizona House Speaker again asked Co-Conspirator 1 for evidence of the outcome-determinative

    election fraud he and the Defendant had been claiming, Co-Conspirator 1 responded with words

    to the effect of, "We don't have the evidence, but we have lots of theories."




                                                    - IO -
USCA Case #22-3062     Document #2011096       Filed: 08/04/2023  Page 14 of 47
        Case 1:23-cr-00257-TSC Document 1 Filed 08/01/23 Page 11 of 45




           17.    On December 4, the Arizona House Speaker issued a public statement that said, in

   part:

                  No election is perfect, and if there were evidence of illegal votes or
                  an improper count, then Arizona law provides a process to contest
                  the election: a lawsuit under state law. But the law does not
                  authorize the Legislature to reverse the results of an election.

                  As a conservative Republican, I don't like the results of the
                  presidential election. I voted for President Trump and worked hard
                  to reelect him. But I cannot and will not entertain a suggestion that
                  we violate current law to change the outcome of a certified election.

                  J and my fellow legislators swore an oath to support the U.S.
                  Constitution and the constitution and laws of the state of Arizona. It
                  would violate that oath, the basic principles of republican
                  government, and the rule of law if we attempted to nullify the
                  people's vote based on unsupported theories of fraud. Under the
                  laws that we wrote and voted upon, Arizona voters choose who
                  wins, and our system requires that their choice be respected.

           18.    On the morning of January 4, 2021, Co-Conspirator 2 called the Arizona House

   Speaker to urge him to use a majority of the legislature to decertify the state's legitimate electors.

   Arizona's validly ascertained electors had voted three weeks earlier and sent their votes to

   Congress, which was scheduled to count those votes in Biden's favor in just two days' time at the

   January 6 certification proceeding.      When the Arizona House Speaker explained that state

   investigations had uncovered no evidence of substantial fraud in the state, Co-Conspirator 2

   conceded that he "[ didn't] know enough about facts on the ground" in Arizona, but nonetheless

   told the Arizona House Speaker to decertify and "let the courts sort it out." The Arizona House

   Speaker refused, stating that he would not "play with the oath" he had taken to uphold the United

   States Constitution and Arizona law.

           19.    On January 6, the Defendant publicly repeated the knowingly false claim that

   36,000 non-citizens had voted in Arizona.



                                                   - 11 -
USCA CaseCase
          #22-3062      Document #2011096
              1:23-cr-00257-TSC  Document 1 FiledFiled: 08/04/2023
                                                  08/01/23   Page 12 ofPage
                                                                        45 15 of 47




                                                    Georgia

           20.      On November 16, 2020, on the Defendant's behalf, his executive assistant sent Co-

    Conspirator 3 and others a document containing bullet points critical of a certain voting machine

    company, writing, "See attached - Please include as is, or almost as is, in lawsuit."           Co-

    Conspirator 3 responded nine minutes later, writing, "IT MUST GO IN ALL SUITS IN GA AND

    PA IMMEDIATELY WITH A FRAUD CLAIM THAT REQUIRES THE ENTIRE ELECTION

    TO BE SET ASIDE in those states and machines impounded for non-partisan professional

    inspection." On November 25, Co-Conspirator 3 filed a lawsuit against the Governor of Georgia

    falsely alleging "massive election fraud" accomplished through the voting machine company's

    election software and hardware. Before the lawsuit was even filed, the Defendant retweeted a post

    promoting it.        The Defendant did this despite the fact that when he had discussed Co-

    Conspirator 3's far-fetched public claims regarding the voting machine company in private with

    advisors, the Defendant had conceded that they were unsupported and that Co-Conspirator 3

    sounded "crazy." Co-Conspirator 3's Georgia lawsuit was dismissed on December 7.

           21.      On December 3, Co-Conspirator I orchestrated a presentation to a Judiciary

    Subcommittee of the Georgia State Senate, with the intention of misleading state senators into

    blocking the ascertainment of legitimate electors. During the presentation:

                    a.       An agent of the Defendant and Co-Conspirator 1 falsely claimed that more
                             than 10,000 dead people voted in Georgia. That afternoon, a Senior Advisor
                             to the Defendant told the Defendant's Chief of Staff through text messages,
                             "Just an FYI. [A Campaign lawyer] and his team verified that the l0k+
                             supposed dead people voting in GA is not accurate .... It was alleged in
                             [Co-Conspirator l's] hearing today." The Senior Advisor clarified that he
                             believed that the actual number was 12.

                    b.        Another agent of the Defendant and Co-Conspirator 1 played a misleading
                              excerpt of a video recording of ballot-counting at State Farm Arena in
                              Atlanta and insinuated that it showed election workers counting "suitcases"
                              of i11egal ballots.


                                                     - 12 -
USCA Case #22-3062           Document #2011096                 Filed: 08/04/2023         Page 16 of 47
          Case 1:23-cr-00257-TSC          Document 1       Filed 08/01/23      Page 13 of 45




                  c.     Co-Conspirator 2 encouraged the legislators to decertify the state's
                         legitimate electors based on false allegations of election fraud.

          22.     Also on December 3, the Defendant issued a Tweet amplifying the knowingly false

   claims made in Co-Conspirator l's presentation in Georgia: "Wow! Blockbuster testimony taking

   place right now in Georgia. Ballot stuffing by Dems when Republicans were forced to leave the

   large counting room. Plenty more coming, but this alone leads to an easy win of the State!"

          23.     On December 4, the Georgia Secretary of State's Chief Operating Officer debunked

   the claims made at Co-Conspirator l's presentation the previous day, issuing a Tweet stating, "The

   90 second video of election workers at State Farm arena, purporting to show fraud was watched in

   its entirety (hours) by @GaSecofStatc investigators. Shows normal ballot processing. Here is the

   fact check on it." On December 7, he reiterated during a press conference that the claim that there

   had been misconduct at State Farm Arena was false.

          24.     On December 8, the Defendant called the Georgia Attorney General to pressure

   him to support an election lawsuit filed in the Supreme Court by another state's attorney general.

   The Georgia Attorney General told the Defendant that officials had investigated various claims of

   election fraud in the state and were not seeing evidence to support them.

          25.     Also on December 8, a Senior Campaign Advisor-who spoke with the Defendant

   on a daily basis and had informed him on multiple occasions that various fraud claims were

   untrue-expressed frustration that many of Co-Conspirator 1 and his legal team's claims could not

   be substantiated. As early as mid-November, for instance, the Senior Campaign Advisor had

   informed the Defendant that his claims of a large number of dead voters in Georgia were untrue.

   With respect to the persistent false claim regarding State Farm Arena, on December 8, the Senior

   Campaign Advisor wrote in an email, "When our research and campaign legal team can't back up

   any of the claims made by our Elite Strike Force Legal Team, you can see why we're 0-32 on our



                                                  - J3 -
USCA Case #22-3062            Document #2011096                   Filed: 08/04/2023          Page 17 of 47
          Case 1:23-cr-00257-TSC            Document 1       Filed 08/01/23      Page 14 of 45




   cases. I'll obviously hustle to help on all fronts, but it's tough to own any of this when it's all just

   conspiracy shit beamed down from the mothership."

          26.     On December I 0, four days before Biden's validly ascertained electors were

   scheduled to cast votes and send them to Congress, Co-Conspirator 1 appeared at a hearing before

   the Georgia House of Representatives' Government Affairs Committee. Co-Conspirator 1 played

   the State Farm Arena video again, and falsely claimed that it showed "voter fraud right in front of

   people's eyes" and was "the tip of the iceberg." Then, he cited two election workers by name,

   baselessly accused them of "quite obviously surreptitiously passing around USB ports as if they

   are vials of heroin or cocaine," and suggested that they were criminals whose "places of work,

   their homes, should have been searched for evidence of ballots, for evidence of USB ports, for

   evidence of voter fraud." Thereafter, the two election workers received numerous death threats.

           27.    On December 15, the Defendant summoned the incoming Acting Attorney General,

   the incoming Acting Deputy Attorney General, and others to the Oval Office to discuss allegations

   of election fraud. During the meeting, the Justice Department officials specifically refuted the

   Defendant's claims about State Farm Arena, explaining to him that the activity shown on the tape

   Co-Conspirator 1 had used was "benign."

           28.    On December 23, a day after the Defendant's Chief of Staff personally observed

   the signature verification process at the Cobb County Civic Center and notified the Defendant that

   state election officials were "conducting themselves in an exemplary fashion" and would find fraud

   if it existed, the Defendant tweeted that the Georgia officials administering the signature

   verification process were trying to hide evidence of election fraud and were "[t]errible people!"

           29.     In a phone call on December 27, the Defendant spoke with the Acting Attorney

   General and Acting Deputy Attorney General. During the call, the Defendant again pressed the




                                                    - 14 -
USCA Case #22-3062            Document #2011096                 Filed: 08/04/2023        Page 18 of 47
          Case 1:23-cr-00257-TSC          Document 1       Filed 08/01/23    Page 15 of 45




   unfounded claims regarding State Farm Arena, and the two top Justice Department officials again

   rebutted the allegations, telling him that the Justice Department had reviewed videotape and

   interviewed witnesses, and had not identified any suspicious conduct.

          30.     On December 31, the Defendant signed a verification affirming false election fraud

   allegations made on his behalf in a lawsuit filed in his name against the Georgia Governor. In

   advance of the filing, Co-Conspirator 2-who was advising the Defendant on the lawsuit-

   acknowledged in an email that he and the Defendant had, since signing a previous verification,

   "been made aware that some of the allegations (and evidence proffered by the experts) has been

   inaccurate" and that signing a new affirmation "with that knowledge (and incorporation by

   reference) would not be accurate." The Defendant and Co-Conspirator 2 caused the Defendant's

   signed verification to be filed nonetheless.

          31.     On January 2, four days before Congress's certification proceeding, the Defendant

   and others called Georgia's Secretary of State. During the call, the Defendant lied to the Georgia

   Secretary of State to induce him to alter Georgia's popular vote count and call into question the

   validity of the Biden electors' votes, which had been transmitted to Congress weeks before,

   including as follows:

                  a.       The Defendant raised allegations regarding the State Farm Arena video and
                           repeatedly disparaged one of the same election workers that Co-
                           Conspirator 1 had maligned on December 10, using her name almost twenty
                           times and falsely referring to her as "a professional vote scammer and
                           hustler." In response, the Georgia Secretary of State refuted this: "You're
                           talking about the State Farm video. And I think it's extremely unfortunate
                           that [Co-Conspirator 1] or his people, they sliced and diced that video and
                           took it out of context." When the Georgia Secretary of State then offered a
                           link to a video that would disprove Co-Conspirator 1 's claims, the
                           Defendant responded, "I don't care about a link, I don't need it. I have a
                           much, [Georgia Secretary of State], I have a much better link."




                                                  - 15 -
USCA Case #22-3062           Document #2011096                  Filed: 08/04/2023          Page 19 of 47
          Case 1:23-cr-00257-TSC          Document 1       Filed 08/01/23     Page 16 of 45




                  b.     The Defendant asked about rumors that paper ballots cast in the election
                         were being destroyed, and the Georgia Secretary of State's Counsel
                         explained to him that the claim had been investigated and was not true.

                  c.     The Defendant claimed that 5,000 dead people voted in Georgia, causing
                         the Georgia Secretary of State to respond, "Well, Mr. President, the
                         challenge that you have is the data you have is wrong .... The actual number
                         were two. Two. Two people that were dead that voted. And so [your
                         information]'s wrong, that was two."

                  d.     The Defendant claimed that thousands of out-of-state voters had cast ballots
                         in Georgia's election, which the Georgia Secretary of State's Counsel
                         refuted, explaining, "We've been going through each of those as well, and
                         those numbers that we got, that [Defendant's counsel] was just saying,
                         they're not accurate. Every one we've been through are people that lived
                         in Georgia, moved to a different state, but then moved back to Georgia
                         legitimately ... they moved back in years ago. This was not like something
                         just before the election."

                  e.     In response to multiple other of the Defendant's allegations, the Georgia
                         Secretary of State's Counsel told the Defendant that the Georgia Bureau of
                         Investigation was examining all such claims and finding no merit to them.

                  f.     The Defendant said that he needed to "find" 11,780 votes, and insinuated
                         that the Georgia Secretary of State and his Counsel could be subject to
                         criminal prosecution if they failed to find election fraud as he demanded,
                         stating, "And you are going to find that they are-which is totally illegal-
                         it' s, it's, it's more illegal for you than it is for them because you know what
                         they did and you're not reporting it. That's a criminal, you know, that's a
                         criminal offense. And you know, you can't let that happen. That's a big
                         risk to you and to [the Georgia Secretary of State's Counsel], your lawyer."

          32.     The next day, on January 3, the Defendant falsely claimed that the Georgia

   Secretary of State had not addressed the Defendant's allegations, publicly stating that the Georgia

   Secretary of State "was unwilling, or unable, to answer questions such as the 'ballots under table'

   scam, ballot destruction, out of state 'voters', dead voters, and more. He has no clue!"

          33.     On January 6, the Defendant publicly repeated the knowingly false insinuation that

   more than 10,300 dead people had voted in Georgia.




                                                  - 16 -
USCA Case #22-3062           Document #2011096                  Filed: 08/04/2023         Page 20 of 47
          Case 1:23-cr-00257-TSC          Document 1       Filed 08/01/23     Page 17 of 45




                                                Michigan

          34.     On November 5, 2020, the Defendant claimed that there had been a suspicious

   dump of votes-purportedly illegitimate ballots-stating, "In Detroit, there were hours of

   unexplained delay in delivering many of the votes for counting. The final batch did not arrive until

   four in the morning and-even though the polls closed at eight o'clock. So they brought it in, and

   the batches came in, and nobody knew where they came from."

          35.     On November 20, three days before Michigan's Governor signed a certificate of

   ascertainment notifying the federal government that, based on the popular vote, Biden's electors

   were to represent Michigan's voters, the Defendant held a meeting in the Oval Office with the

   Speaker of the Michigan Ilouse of Representatives and the Majority Leader of the Michigan

   Senate. ln the meeting, the Defendant raised his false claim, among others, of an illegitimate vote

   dump in Detroit. In response, the Michigan Senate Majority Leader told the Defendant that he had

   lost Michigan not because of fraud, but because the Defendant had underperformed with certain

   voter populations in the state. Upon leaving their meeting, the Michigan House Speaker and

   Michigan Senate Majority Leader issued a statement reiterating this:

                  The Senate and House Oversight Committees are actively engaged
                  in a thorough review of Michigan's elections process and we have
                  faith in the committee process to provide greater transparency and
                  accountability to our citizens. We have not yet been made aware of
                  any information that would change the outcome of the election in
                  Michigan and as legislative leaders, we will follow the law and
                  follow the normal process regarding Michigan's electors, just as we
                  have said throughout this election.

          36.     On December 1, the Defendant raised his Michigan vote dump claim with the

   Attorney General, who responded that what had occurred in Michigan had been the normal vote-

   counting process and that there was no indication of fraud in Detroit.




                                                  - 17 -
USCA Case #22-3062     Document #2011096       Filed: 08/04/2023   Page 21 of 47
        Case 1:23-cr-00257-TSC Document 1 Filed 08/01/23 Page 18 of 45




           37.     Despite this, the next day, the Defendant made a knowingly false statement that in

   Michigan, "[a]t 6:31 in the morning, a vote dump of 149,772 votes came in unexpectedly. We

   were winning by a lot. That batch was received in horror. Nobody knows anything about it. ...

   It's corrupt. Detroit is corrupt. I have a lot of friends in Detroit. They know it. But Detroit is

   totally corrupt."

           38.     On December 4, Co-Conspirator 1 sent a text message to the Michigan House

   Speaker reiterating his unsupported claim of election fraud and attempting to get the Michigan

   House Speaker to assist in reversing the ascertainment of the legitimate Biden electors, stating,

   "Looks like Georgia may well hold some factual hearings and change the certification under ArtII

   sec 1 cl 2 of the Constitution. As [Co-Conspirator 2] explained they don't just have the right to

   do it but the obligation .... Help me get this done in Michigan."

           39.     Similarly, on December 7, despite still having established no fraud in Michigan,

   Co-Conspirator 1 sent a text intended for the Michigan Senate Majority Leader: "So I need you to

   pass a joint resolution from the Michigan legislature that states that, * the election is in dispute, *

   there's an ongoing investigation by the Legislature, and* the Electors sent by Governor Whitmer

   are not the official Electors of the State of Michigan and do not fall within the Safe Harbor deadline

   of Dec 8 under Michigan law."

           40.     On December 14-the day that electors in states across the country were required

   to vote and submit their votes to Congress-the Michigan House Speaker and Michigan Senate

   Majority Leader announced that, contrary to the Defendant's requests, they would not decertify

   the legitimate election results or electors in Michigan. The Michigan Senate Majority Leader's

   public statement included, "[W]e have not received evidence of fraud on a scale that would change




                                                    - 18 -
USCA Case #22-3062            Document #2011096                   Filed: 08/04/2023          Page 22 of 47
              Case 1:23-cr-00257-TSC        Document 1       Filed 08/01/23     Page 19 of 45




   the outcome of the election in Michigan." The Michigan House Speaker's public statement read,

   in part:

                    We've diligently examined these reports of fraud to the best of our
                    ability ....

                    . . . I fought hard for President Trump. Nobody wanted him to win
                    more than me. I think he's done an incredible job. But I love our
                    republic, too. I can't fathom risking our norms, traditions and
                    institutions to pass a resolution retroactively changing the electors
                    for Trump, simply because some think there may have been enough
                    widespread fraud to give him the win. That's unprecedented for
                    good reason. And that's why there is not enough support in the
                    House to cast a new slate of electors. I fear we'd lose our country
                    forever. This truly would bring mutually assured destruction for
                    every future election in regards to the Electoral College. And I can't
                    stand for that. I won't.

              41.   On January 6, 2021, the Defendant publicly repeated his knowingly false claim

   regarding an illicit dump of more than a hundred thousand ballots in Detroit.

                                                Pennsylvania

              42.   On November 11, 2020, the Defendant publicly maligned a Philadelphia City

   Commissioner for stating on the news that there was no evidence of widespread fraud in

   Philadelphia. As a result, the Philadelphia City Commissioner and his family received death

   threats.

              43.   On November 25, the day after Pennsylvania's Governor signed a certificate of

   ascertainment and thus certified to the federal government that Bid en's electors were the legitimate

   electors for the state, Co-Conspirator 1 orchestrated an event at a hotel in Gettysburg attended by

   state legislators.   Co-Conspirator 1 falsely claimed that Pennsylvania had issued 1.8 million

   absentee ballots and received 2.5 million in return. In the days thereafter, a Campaign staffer wrote

   internally that Co-Conspirator l's allegation was "just wrong" and "[t]here's no way to defend it."




                                                    - 19 -
USCA Case #22-3062             Document #2011096                 Filed: 08/04/2023        Page 23 of 47
          Case 1:23-cr-00257-TSC            Document 1       Filed 08/01/23   Page 20 of 45




   The Deputy Campaign Manager responded, "We have been saying this for a while. It's very

   frustrating."

           44.       On December 4, after four Republican leaders of the Pennsylvania legislature

   issued a public statement that the General Assembly lacked the authority to overturn the popular

   vote and appoint its own slate of electors, and that doing so would violate the state Election Code

   and Constitution, the Defendant re-tweeted a post labeling the legislators cowards.

           45.       On December 31 and January 3, the Defendant repeatedly raised with the Acting

   Attorney General and Acting Deputy Attorney General the allegation that in Pennsylvania, there

   had been 205,000 more votes than voters. Each time, the Justice Department officials informed

   the Defendant that his claim was false.

           46.       On January 6, 2021, the Defendant publicly repeated his knowingly false claim that

   there had been 205,000 more votes than voters in Pennsylvania.

                                                 Wisconsin

           47.       On November 29, 2020, a recount in Wisconsin that the Defendant's Campaign had

   petitioned and paid for did not change the election result, and in fact increased the Defendant's

   margin of defeat.

           48.       On December 14, the Wisconsin Supreme Court rejected an election challenge by

   the Campaign. One Justice wrote, "[N]othing in this case casts any legitimate doubt that the people

   of Wisconsin lawfully chose Vice President Biden and Senator Harris to be the next leaders of our

   great country."

           49.       On December 21, as a result of the state Supreme Court's decision, the Wisconsin

   Governor-who had signed a certificate of ascertainment on November 30 identifying Biden's

   electors as the state's legitimate electors-signed a certificate of final determination in which he




                                                    - 20 -
USCA Case #22-3062            Document #2011096                  Filed: 08/04/2023          Page 24 of 47
          Case 1:23-cr-00257-TSC           Document 1        Filed 08/01/23    Page 21 of 45




   recognized that the state Supreme Court had resolved a controversy regarding the appointment of

   Biden's electors, and confirmed that Biden had received the highest number of votes in the state

   and that his electors were the state's legitimate electors.

          50.     That same day, in response to the court decision that had prompted the Wisconsin

   Governor to sign a certificate of final determination, the Defendant issued a Tweet repeating his

   knowingly false claim of election fraud and demanding that the Wisconsin legislature overturn the

   election results that had led to the ascertainment of Biden's electors as the legitimate electors.

          51.     On December 27, the Defendant raised with the Acting Attorney General and

   Acting Deputy Attorney General a specific fraud claim-that there had been more votes than

   voters in Wisconsin. The Acting Deputy Attorney General informed the Defendant that the claim

   was false.

           52.    On January 6, 2021, the Defendant publicly repeated knowingly false claims that

   there had been tens of thousands of unlawful votes in Wisconsin.

   The Defendant's Use of Dishonesty. Fraud, and Deceit to Organize Fraudulent Slates of'Electors
                    and Cause Them to Transmit Ealse:Certifitates .to C0n~ress_

          53.     As the Defendant's attempts to obstruct the electoral vote through deceit of state

   officials met with repeated failure, beginning in early December 2020, he and co-conspirators

   developed a new plan: to marshal individuals who would have served as the Defendant's electors,

   had he won the popular vote, in seven targeted states-Arizona, Georgia, Michigan, Nevada, New

   Mexico, Pennsylvania, and Wisconsin-and cause those individuals to make and send to the Vice

   President and Congress false certifications that they were legitimate electors. Under the plan, the

   submission of these fraudulent slates would create a fake controversy at the certification

   proceeding and position the Vice President-presiding on January 6 as President of the Senate-




                                                    - 21 -
USCA Case #22-3062          Document #2011096                  Filed: 08/04/2023         Page 25 of 47
          Case 1:23-cr-00257-TSC         Document 1       Filed 08/01/23     Page 22 of 45




   to supplant legitimate electors with the Defendant's fake electors and certify the Defendant as

   president.

          54.     The plan capitalized on ideas presented in memoranda drafted by Co-Conspirator 5,

   an attorney who was assisting the Defendant's Campaign with legal efforts related to a recount in

   Wisconsin. The memoranda evolved over time from a legal strategy to preserve the Defendant's

   rights to a corrupt plan to subvert the federal government function by stopping Biden electors'

   votes from being counted and certified, as follows:

                  a.     The November 18 Memorandum ("Wisconsin Memo") advocated that,
                         because of the ongoing recount in Wisconsin, the Defendant's electors there
                         should meet and cast votes on December 14-the date the ECA required
                         appointed electors to vote-to preserve the alternative of the Defendant's
                         Wisconsin elector slate in the event the Defendant ultimately prevailed in
                         the state.

                  b.     The December 6 Memorandum ("Fraudulent Elector Memo") marked a
                         sharp departure from Co-Conspirator S's Wisconsin Memo, advocating that
                         the alternate electors originally conceived of to preserve rights in Wisconsin
                         instead be used in a number of states as fraudulent electors to prevent Bi den
                         from receiving the 270 electoral votes necessary to secure the presidency
                         on January 6. The Fraudulent Elector Memo suggested that the Defendant's
                         electors in six purportedly "contested" states (Arizona, Georgia, Michigan,
                         Nevada, Pennsylvania, and Wisconsin) should meet and mimic as best as
                         possible the actions of the legitimate Biden electors, and that on January 6,
                         the Vice President should open and count the fraudulent votes, setting up a
                         fake controversy that would derail the proper certification of Biden as
                         president-elect.

                  c.     The December 9 Memorandum ("Fraudulent Elector Instructions")
                         consisted of Co-Conspirator S's instructions on how fraudulent electors
                         could mimic legitimate electors in Arizona, Georgia, Michigan, Nevada,
                         Pennsylvania, and Wisconsin. Co-Conspirator 5 noted that in some states,
                         it would be virtually impossible for the fraudulent electors to successfully
                         take the same steps as the legitimate electors because state law required
                         formal participation in the process by state officials, or access to official
                         resources.




                                                 - 22 -
USCA Case #22-3062
        Case           Document Document
             1:23-cr-00257-TSC  #2011096 1 FiledFiled: 08/04/2023
                                                 08/01/23   Page 23 ofPage
                                                                       45 26 of 47




           55.     The plan began in early December, and ultimately, the conspirators and the

    Defendant's Campaign took the Wisconsin Memo and expanded it to any state that the Defendant

    claimed was "contested"-even New Mexico, which the Defendant had lost by more than ten

   percent of the popular vote. This expansion was forecast by emails the Defendant's Chief of Staff

    sent on December 6, forwarding the Wisconsin Memo to Campaign staff and writing, "We just

    need to have someone coordinating the electors for states."

           56.     On December 6, the Defendant and Co-Conspirator 2 called the Chairwoman of the

   Republican National Committee to ensure that the plan was in motion. During the call, Co-

    Conspirator 2 told the Chairwoman that it was important for the RNC to help the Defendant's

    Campaign gather electors in targeted states, and falsely represented to her that such electors' votes

    would be used only if ongoing litigation in one of the states changed the results in the Defendant's

    favor. After the RNC Chairwoman consulted the Campaign and heard that work on gathering

    electors was underway, she called and reported this information to the Defendant, who responded

    approvingly.

           57.     On December 7, Co-Conspirator 1 received the Wisconsin Memo and the

   Fraudulent Elector Memo. Co-Conspirator 1 spoke with Co-Conspirator 6 regarding attorneys

   who could assist in the fraudulent elector effort in the targeted states, and he received from Co-

    Conspirator 6 an email identifying attorneys in Arizona, Georgia, Michigan, Nevada, New Mexico,

   Pennsylvania, and Wisconsin.

           58.     The next day, on December 8, Co-Conspirator 5 called the Arizona attorney on Co-

    Conspirator 6's list. In an email after the call, the Arizona attorney recounted his conversation

    with Co-Conspirator 5 as follows:

                   I just talked to the gentleman who did that memo, [Co-
                   Conspirator 5]. His idea is basically that all ofus (GA, WI, AZ, PA,


                                                   - 23 -
USCA Case #22-3062
        Case           Document Document
             1:23-cr-00257-TSC  #2011096 1 FiledFiled: 08/04/2023
                                                 08/01/23   Page 24 ofPage
                                                                       45 27 of 47




                   etc.) have our electors send in their votes (even though the votes
                   aren't legal under federal law -- because they're not signed by the
                   Governor); so that members of Congress can fight about whether
                   they should be counted on January 6th• (They could potentially
                   argue that they're not bound by federal law because they're
                   Congress and make the Jaw, etc.) Kind of wild/creative -- I'm happy
                   to discuss. My comment to him was that I guess there's no harm in
                   it, (legally at least) -- i.e. we would just be sending in "fake"
                   electoral votes to Pence so that "someone" in Congress can make an
                   objection when they start counting votes, and start arguing that the
                   "fake" votes should be counted.

           59.     At Co-Conspirator l's direction, on December 10, Co-Conspirator 5 sent to points

    of contact in all targeted states except Wisconsin (which had already received his memos) and

    New Mexico a streamlined version of the Wisconsin Memo-which did not reveal the intended

    fraudulent use of the Defendant's electors-and the Fraudulent Elector Instructions, along with

    fraudulent elector certificates that he had drafted.

           60.     The next day, on December 11, through Co-Conspirator 5, Co-Conspirator 1

    suggested that the Arizona lawyer file a petition for certiorari in the Supreme Court as a pretext to

    claim that litigation was pending in the state, to provide cover for the convening and voting of the

    Defendant's fraudulent electors there.     Co-Conspirator 5 explained that Co-Conspirator 1 had

    heard from a state official and state provisional elector that "it could appear treasonous for the AZ

    electors to vote on Monday if there is no pending court proceeding .... "

           61.     To manage the plan in Pennsylvania, on December 12, Co-Conspirator 1, Co-

    Conspirator 5, and Co-Conspirator 6 participated in a conference call organized by the Defendant's

    Campaign with the Defendant's electors in that state. When the Defendant's electors expressed

    concern about signing certificates representing themselves as legitimate electors, Co-Conspirator 1

    falsely assured them that their certificates would be used only if the Defendant succeeded in

    litigation. Subsequently, Co-Conspirator 6 circulated proposed conditional language to that effect



                                                     - 24 -
USCA Case #22-3062
        Case           Document #2011096
             1:23-cr-00257-TSC  Document 1 FiledFiled: 08/04/2023
                                                 08/01/23   Page 25 ofPage
                                                                       45 28 of 47




    for potential inclusion in the fraudulent elector certificates. A Campaign official cautioned not to

    offer the conditional language to other states because "[t]he other States are signing what he

    prepared - if it gets out we changed the language for PA it could snowball." In some cases, the

    Defendant's electors refused to participate in the plan.

           62.     On December 13, Co-Conspirator 5 sent Co-Conspirator 1 an email memorandum

    that further confirmed that the conspirators' plan was not to use the fraudulent electors only in the

    circumstance that the Defendant's litigation was successful in one of the targeted states-instead,

    the plan was to falsely present the fraudulent slates as an alternative to the legitimate slates at

    Congress's certification proceeding.

           63.     On December 13, the Defendant asked the Senior Campaign Advisor for an update

    on "what was going on" with the elector plan and directed him to "put out [a] statement on

    electors." As a result, Co-Conspirator 1 directed the Senior Campaign Advisor to join a conference

    call with him, Co-Conspirator 6, and others. When the Senior Campaign Advisor related these

    developments in text messages to the Deputy Campaign Manager, a Senior Advisor to the

    Defendant, and a Campaign staffer, the Deputy Campaign Manager responded, "Here's the thing

    the way this has morphed it's a crazy play so I don't know who wants to put their name on it."

    The Senior Advisor wrote, "Certifying illegal votes." In turn, the participants in the group text

    message refused to have a statement regarding electors attributed to their names because none of

    them could "stand by it."

           64.     Also on December 13, at a Campaign staffer's request, Co-Conspirator 5 drafted

    and sent fraudulent elector certificates for the Defendant's electors in New Mexico, which had not

    previously been among the targeted states, and where there was no pending litigation on the

    Defendant's behalf. The next day, the Defendant's Campaign filed an election challenge suit in




                                                    - 25 -
USCA Case #22-3062
        Case           Document Document
             1:23-cr-00257-TSC  #2011096 1 FiledFiled: 08/04/2023
                                                 08/01/23   Page 26 ofPage
                                                                       45 29 of 47




    New Mexico at l l :54 a.m., six minutes before the noon deadline for the electors' votes, as a pretext

    so that there was pending litigation there at the time the fraudulent electors voted.

            65.    On December 14, the legitimate electors of all 50 states and the District of

    Columbia met in their respective jurisdictions to formally cast their votes for president, resulting

    in a total of 232 electoral votes for the Defendant and 306 for Bi den. The legitimate electoral votes

    that Eiden won in the states that the Defendant targeted, and the Defendant's margin of defeat,

    were as follows: Arizona (11 electoral votes; 10,457 votes), Georgia (16 electoral votes; 11,779

    votes), Michigan (16 electoral votes; 154,188 votes), Nevada (6 electoral votes; 33,596 votes),

    New Mexico (5 electoral votes; 99,720 votes), Pennsylvania (20 electoral votes; 80,555 votes),

    and Wisconsin (IO electoral votes; 20,682 votes).

            66.    On the same day, at the direction of the Defendant and Co-Conspirator 1, fraudulent

    electors convened sham proceedings in the seven targeted states to cast fraudulent electoral ballots

    in favor of the Defendant.    ln some states, in order to satisfy legal requirements set forth for

    legitimate electors under state law, state officials were enlisted to provide the fraudulent electors

    access to state capitol buildings so that they could gather and vote there. In many cases, however,

    as Co-Conspirator 5 had predicted in the Fraudulent Elector Instructions, the fraudulent electors

    were unable to satisfy the legal requirements.

            67.    Nonetheless, as directed in the Fraudulent Elector Instructions, shortly after the
                                                              '
    fraudulent electors met on December 14, the targeted states' fraudulent elector certificates were

    mailed to the President of the Senate, the Archivist of the United States, and others. The Defendant

    and co-conspirators ultimately used the certificates of these fraudulent electors to deceitfully target

    the government function, and did so contrary to how fraudulent electors were told they would be

    used.




                                                     - 26 -
USCA Case #22-3062     Document #2011096       Filed: 08/04/2023  Page 30 of 47
        Case 1:23-cr-00257-TSC Document 1 Filed 08/01/23 Page 27 of 45




           68.     Unlike those of the fraudulent electors, consistent with the ECA, the legitimate

    electors' signed certificates were annexed to the state executives' certificates of ascertainment

    before being sent to the President of the Senate and others.

           69.     That evening, at 6:26 p.m., the RNC Chairwoman forwarded to the Defendant,

    through his executive assistant, an email titled, "Electors Recap - Final," which represented that

    in "Six Contested States"-Arizona, Georgia, Michigan, Nevada, Pennsylvania, and Wisconsin-

    the Defendant's electors had voted in parallel to Biden's electors. The Defendant's executive

    assistant responded, "It's in front of him!"

           Tfie Defendant's Atte111pt to Leverage the Justice Department to Use Deceit to Gel
        State Officials to Replace Legitimate Electors and Electoral Votes with the Defendant's

           70.     In late December 2020, the Defendant attempted to use the Justice Department to

    make knowingly false claims of election fraud to officials in the targeted states through a formal

    letter under the Acting Attorney General's signature, thus giving the Defendant's lies the backing

    of the federal government and attempting to improperly influence the targeted states to replace

    legitimate Biden electors with the Defendant's.

           71.     On December 22, the Defendant met with Co-Conspirator 4 at the White House.

    Co-Conspirator 4 had not informed his leadership at the Justice Department of the meeting, which

    was a violation of the Justice Department's written policy restricting contacts with the White

    House to guard against improper political influence.

           72.     On December 26, Co-Conspirator 4 spoke on the phone with the Acting Attorney

    General and lied about the circumstances of his meeting with the Defendant at the White House,

    falsely claiming that the meeting had been unplanned. The Acting Attorney General directed Co-

    Conspirator 4 not to have unauthorized contacts with the White House again, and Co-Conspirator 4

    said he would not.



                                                   - 27 -
USCA Case #22-3062
        Case           Document Document
             1:23-cr-00257-TSC  #2011096 1 FiledFiled: 08/04/2023
                                                 08/01/23   Page 28 ofPage
                                                                       45 31 of 47




           73.       The next morning, on December 27, contrary to the Acting Attorney General's

    direction, Co-Conspirator 4 spoke with the Defendant on the Defendant's cell phone for nearly

    three minutes.

           74.       That afternoon, the Defendant called the Acting Attorney General and Acting

    Deputy Attorney General and said, among other things, "People tell me [Co-Conspirator 4) is

    great. I should put him in." The Defendant also raised multiple false claims of election fraud,

    which the Acting Attorney General and Acting Deputy Attorney General refuted. When the Acting

    Attorney General told the Defendant that the Justice Department could not and would not change

    the outcome of the election, the Defendant responded, "Just say that the election was corrupt and

    leave the rest to me and the Republican congressmen."

           75.       On December 28, Co-Conspirator 4 sent a draft letter to the Acting Attorney

    General and Acting Deputy Attorney General, which be proposed they all sign. The draft was

    addressed to state officials in Georgia, and Co-Conspirator 4 proposed sending versions of the

    letter to elected officials in other targeted states.    The proposed letter contained numerous

    knowingly false claims about the election and the Justice Department, including that:

                     a.     The Justice Department had "identified significant concerns that may have
                            impacted the outcome of the election in multiple States[.]"

                     b.     The Justice Department believed that in Georgia and other states, two valid
                            slates of electors had gathered at the proper location on December 14, and
                            that both sets of ballots had been transmitted to Congress. That is, Co-
                            Conspirator 4's letter sought to advance the Defendant's fraudulent elector
                            plan by using the authority of the Justice Department to falsely present the
                            fraudulent electors as a valid alternative to the legitimate electors.

                     c.     The Justice Department urged that the state legislature convene a special
                            legislative session to create the opportunity to, among other things, choose
                            the fraudulent electors over the legitimate electors.




                                                    - 28 -
USCA Case #22-3062
        Case           Document Document
             1:23-cr-00257-TSC  #2011096 1 FiledFiled: 08/04/2023
                                                 08/01/23   Page 29 ofPage
                                                                       45 32 of 47




           76.     The Acting Deputy Attorney General promptly responded to Co-Conspirator 4 by

    email and told him that his proposed letter was false, writing, "Despite dramatic claims to the

    contrary, we have not seen the type of fraud that calls into question the reported (and certified)

    results of the election." In a meeting shortly thereafter, the Acting Attorney General and Acting

    Deputy Attorney General again directed Co-Conspirator 4 not to have unauthorized contact with

   the White House.

           77.     On December 31, the Defendant summoned to the Oval Office the Acting Attorney

    General, Acting Deputy Attorney General, and other advisors. In the meeting, the Defendant again

    raised claims about election fraud that Justice Department officials already had told him were not

    true-and that the senior Justice Department officials reiterated were false-and suggested he

    might change the leadership in the Justice Department.

           78.     On January 2, 2021, just four days before Congress's certification proceeding, Co-

    Conspirator 4 tried to coerce the Acting Attorney General and Acting Deputy Attorney General to

    sign and send Co-Conspirator 4's draft letter, which contained false statements, to state officials.

   He told them that the Defendant was considering making Co-Conspirator 4 the new Acting

   Attorney General, but that Co-Conspirator 4 would decline the Defendant's offer if the Acting

    Attorney General and Acting Deputy Attorney General would agree to send the proposed letter to

    the targeted states. The Justice Department officials refused.

           79.     The next morning, on January 3, despite having uncovered no additional evidence

    of election fraud, Co-Conspirator 4 sent to a Justice Department colleague an edited version of his

    draft letter to the states, which included a change from its previous claim that the Justice

   Department had "concerns" to a stronger false claim that "[a]s of today, there is evidence of




                                                   - 29 -
USCA CaseCase
          #22-3062      Document #2011096       Filed: 08/04/2023  Page 33 of 47
              1:23-cr-00257-TSC Document 1 Filed 08/01/23 Page 30 of 45




    significant irregularities that may have impacted the outcome of the election in multiple

    States .... "

            80.     Also on the morning of January 3, Co-Conspirator 4 met with the Defendant at the

    White House-again without having informed senior Justice Department officials-and accepted

    the Defendant's offer that he become Acting Attorney General.

            81.     On the afternoon of January 3, Co-Conspirator 4 spoke with a Deputy White House

    Counsel. The previous month, the Deputy White House Counsel had informed the Defendant that

    "there is no world, there is no option in which you do not leave the White House [ o ]n

    January 20th." Now, the same Deputy White House Counsel tried to dissuade Co-Conspirator 4

    from assuming the role of Acting Attorney General. The Deputy White House Counsel reiterated

    to Co-Conspirator 4 that there had not been outcome-determinative fraud in the election and that

    if the Defendant remained in office nonetheless, there would be "riots in every major city in the

    United States." Co-Conspirator 4 responded, "Well, [Deputy White House Counsel], that's why

    there's an Insurrection Act."

            82.     Also that afternoon, Co-Conspirator 4 met with the Acting Attorney General and

    told him that the Defendant had decided to put Co-Conspirator 4 in charge of the Justice

    Department. The Acting Attorney General responded that he would not accept being fired by a

    subordinate and immediately scheduled a meeting with the Defendant for that evening.

            83.     On the evening of January 3, the Defendant met for a briefing on an overseas

    national security issue with the Chairman of the Joint Chiefs of Staff and other senior national

    security advisors. The Chairman briefed the Defendant on the issue-which had previously arisen

    in December-as well as possible ways the Defendant could handle it.      When the Chairman and

    another advisor recommended that the Defendant take no action because Inauguration Day was




                                                  - 30 -
USCA Case #22-3062     Document #2011096       Filed: 08/04/2023   Page 34 of 47
        Case 1:23-cr-00257-TSC Document 1 Filed 08/01/23 Page 31 of 45




   only seventeen days away and any course of action could trigger something unhelpful, the

   Defendant calmly agreed, stating, "Yeah, you're right, it's too late for us. We're going to give that

   to the next guy."

          84.     The Defendant moved immediately from this national security briefing to the

   meeting that the Acting Attorney General had requested earlier that day, which included Co-

   Conspirator 4, the Acting Attorney General, the Acting Deputy Attorney General, the Justice

   Department's Assistant Attorney General for the Office of Legal Counsel, the White House

   Counsel, a Deputy White House Counsel, and a Senior Advisor. At the meeting, the Defendant

   expressed frustration with the Acting Attorney General for failing to do anything to overturn the

   election results, and the group discussed Co-Conspirator 4's plans to investigate purported election

   fraud and to send his proposed letter to state officials-a copy of which was provided to the

   Defendant during the meeting. The Defendant relented in his plan to replace the Acting Attorney

   General with Co-Conspirator 4 only when he was told that it would result in mass resignations at

   the Justice Department and of his own White House Counsel.

           85.    At the meeting in the Oval Office on the night of January 3, Co-Conspirator 4

   suggested that the Justice Department should opine that the Vice President could exceed his lawful

   authority during the certification proceeding and change the election outcome. When the Assistant

   Attorney General for the Office of Legal Counsel began to explain why the Justice Department

   should not do so, the Defendant said, "No one here should be talking to the Vice President. I'm

   talking to the Vice President," and ended the discussion.




                                                   - 31 -
USCA Case #22-3062           Document #2011096                    Filed: 08/04/2023        Page 35 of 47
          Case 1:23-cr-00257-TSC           Document 1         Filed 08/01/23   Page 32 of 45




            The Defendants Attempts to Enlist the Vice President to Fraudulently Alter the
                     Election Results at the January 6 Certification Proceeding

           86.    As the January 6 congressional certification proceeding approached and other

   efforts to impair, obstruct, and defeat the federal government function failed, the Defendant sought

   to enlist the Vice President to use his ceremonial role at the certification to fraudulently alter the

   election results. The Defendant did this first by using knowingly false claims of election fraud to

   convince the Vice President to accept the Defendant's fraudulent electors, reject legitimate

   electoral votes, or send legitimate electoral votes to state legislatures for review rather than count

   them. When that failed, the Defendant attempted to use a crowd of supporters that he had gathered

   in Washington, D.C., to pressure the Vice President to fraudulently alter the election results.

           87.    On December 19, 2020, after cultivating widespread anger and resentment for

   weeks with his knowingly false claims of election fraud, the Defendant urged his supporters to

   travel to Washington on the day of the certification proceeding, tweeting, "Big protest in D.C. on

   January 6th. Be there, will be wild!" Throughout late December, he repeatedly urged his

   supporters to come to Washington for January 6.

           88.    On December 23, the Defendant re-tweeted a memo titled "Operation 'PENCE'

   CARD," which falsely asserted that the Vice President could, among other things, unilaterally

   disqualify legitimate electors from six targeted states.

           89.    On the same day, Co-Conspirator 2 circulated a two-page memorandum outlining

   a plan for the Vice President to unlawfully declare the Defendant the certified winner of the

   presidential election.   In the memorandum, Co-Conspirator 2 claimed that seven states had

   transmitted two slates of electors and proposed that the Vice President announce that "because of

   the ongoing disputes in the 7 States, there are no electors that can be deemed validly appointed in

   those States." Next, Co-Conspirator 2 proposed steps that he acknowledged violated the ECA,



                                                   - 32 -
USCA Case #22-3062     Document #2011096       Filed: 08/04/2023   Page 36 of 47
        Case 1:23-cr-00257-TSC Document 1 Filed 08/01/23 Page 33 of 45




   advocating that, in the end, "Pence then gavels President Trump as re-elected." Just two months

   earlier, on October 11, Co-Conspirator 2 had taken the opposite position, writing that neither the

   Constitution nor the ECA provided the Vice President discretion in the counting of electoral votes,

   or permitted him to "make the determination on his own."

          90.     On several private phone calls in late December and early January, the Defendant

   repeated knowingly false claims of election fraud and directly pressured the Vice President to use

   his ceremonial role at the certification proceeding on January 6 to fraudulently overturn the results

   of the election, and the Vice President resisted, including:

                  a.      On December 25, when the Vice President called the Defendant to wish him
                          a Merry Christmas, the Defendant quickly turned the conversation to
                          January 6 and his request that the Vice President reject electoral votes that
                          day. The Vice President pushed back, telling the Defendant, as the Vice
                          President already had in previous conversations, "You know I don't think I
                          have the authority to change the outcome."

                  b.      On December 29, as reflected in the Vice President's contemporaneous
                          notes, the Defendant falsely told the Vice President that the "Justice Dept
                          [was] finding major infractions."

                  c.      On January 1, the Defendant called the Vice President and berated him
                          because he had learned that the Vice President had opposed a lawsuit
                          seeking a judicial decision that, at the certification, the Vice President had
                          the authority to reject or return votes to the states under the Constitution.
                          The Vice President responded that he thought there was no constitutional
                          basis for such authority and that it was improper. In response, the Defendant
                          told the Vice President, "You're too honest." Within hours of the
                          conversation, the Defendant reminded his supporters to meet in Washington
                          before the certification proceeding, tweeting, "The BIG Protest Rally in
                          Washington, D.C., will take place at 11.00 A.M. on January 6th. Locational
                          details to follow. StopTheSteal!"

                  d.      On January 3, the Defendant again told the Vice President that at the
                          certification proceeding, the Vice President had the absolute right to reject
                          electoral votes and the ability to overturn the election. The Vice President
                          responded that he bad no such authority, and that a federal appeals court
                          had rejected the lawsuit making that claim the previous day.



                                                   - 33 -
USCA Case #22-3062
        Case           Document Document
             1:23-cr-00257-TSC  #2011096 1 Filed Filed: 08/04/2023
                                                  08/01/23   Page 34 ofPage
                                                                        45  37 of 47




           91.        On January 3, Co-Conspirator 2 circulated a second memorandum that included a

    new plan under which, contrary to the ECA, the Vice President would send the elector slates to

    the state legislatures to determine which slate to count.

            92.       On January 4, the Defendant held a meeting with Co-Conspirator 2, the Vice

    President, the Vice President's Chief of Staff, and the Vice President's Counsel for the purpose of

    convincing the Vice President, based on the Defendant's knowingly false claims of election fraud,

    that the Vice President should reject or send to the states Biden's legitimate electoral votes, rather

    than count them. The Defendant deliberately excluded his White House Counsel from the meeting

    because the White House Counsel previously had pushed back on the Defendant's false claims of

    election fraud.

            93.       During the meeting, as reflected in the Vice President's contemporaneous notes,

    the Defendant made knowingly false claims of election fraud, including, "Bottom line-won every

    state by 100,000s of votes" and "We won every state," and asked-regarding a claim his senior

    Justice Department officials previously had told him was false, including as recently as the night

    before-"What about 205,000 votes more in PA than voters?"                  The Defendant and Co-

    Conspirator 2 then asked the Vice President to either unilaterally reject the legitimate electors from

    the seven targeted states, or send the question of which slate was legitimate to the targeted states'

    legislatures. When the Vice President challenged Co-Conspirator 2 on whether the proposal to

    return the question to the states was defensible, Co-Conspirator 2 responded, "Well, nobody's

    tested it before." The Vice President then told the Defendant, "Did you hear that? Even your own

    counsel is not saying I have that authority." The Defendant responded, "That's okay, I prefer the

    other suggestion" of the Vice President rejecting the electors unilaterally.




                                                    - 34 -
USCA Case #22-3062            Document #2011096                   Filed: 08/04/2023       Page 38 of 47
          Case 1:23-cr-00257-TSC          Document 1         Filed 08/01/23   Page 35 of 45




           94.    Also on January 4, when Co-Conspirator 2 acknowledged to the Defendant's Senior

   Advisor that no court would support his proposal, the Senior Advisor told Co-Conspirator 2,

   "[Y]ou're going to cause riots in the streets."         Co-Conspirator 2 responded that there bad

   previously been points in the nation's history where violence was necessary to protect the republic.

   After that conversation, the Senior Advisor notified the Defendant that Co-Conspirator 2 had

   conceded that his plan was "not going to work."

           95.    On the morning of January 5, at the Defendant's direction, the Vice President's

   Chief of Staff and the Vice President's Counsel met again with Co-Conspirator 2.                Co-

   Conspirator 2 now advocated that the Vice President do what the Defendant had said he preferred

   the day before: unilaterally reject electors from the targeted states. During this meeting, Co-

   Conspirator 2 privately acknowledged to the Vice President's Counsel that he hoped to prevent

   judicial review of his proposal because he understood that it would be unanimously rejected by

   the Supreme Court. The Vice President's Counsel expressed to Co-Conspirator 2 that following

   through with the proposal would result in a "disastrous situation" where the election might "have

   to be decided in the streets."

           96.    That same day, the Defendant encouraged supporters to travel to Washington on

   January 6, and he set the false expectation that the Vice President had the authority to and might

   use his ceremonial role at the certification proceeding to reverse the election outcome in the

   Defendant's favor, including issuing the following Tweets:

                   a.     At 11 :06 a.m., "The Vice President has the power to reject fraudulently
                          chosen electors." This was within 40 minutes of the Defendant's earlier
                          reminder, "See you in D.C."

                   b.     At 5:05 p.m., "Washington is being inundated with people who don't want
                          to see an election victory stolen .... Our Country has had enough, they
                          won't take it anymore! We hear you (and love you) from the Oval Office."



                                                  - 35 -
USCA Case #22-3062     Document #2011096       Filed: 08/04/2023  Page 39 of 47
        Case 1:23-cr-00257-TSC Document 1 Filed 08/01/23 Page 36 of 45




                    c.     At 5:43 p.m., "I will be speaking at the SAVE AMERICA RALLY
                           tomorrow on the Ellipse at 11AM Eastern. Arrive early - doors open at
                           7AM Eastern. BIG CROWDS!"

          97.       Also on January 5, the Defendant met alone with the Vice President. When the

   Vice President refused to agree to the Defendant's request that he obstruct the certification, the

   Defendant grew frustrated and told the Vice President that the Defendant would have to publicly

   criticize him. Upon learning of this, the Vice President's Chief of Staff was concerned for the

   Vice President's safety and alerted the head of the Vice President's Secret Service detail.

          98.       As crowds began to gather in Washington and were audible from the Oval Office,

   the Defendant remarked to advisors that the crowd the following day on January 6 was going to

   be "angry."

          99.       That night, the Defendant approved and caused the Defendant's Campaign to issue

   a public statement that the Defendant knew, from his meeting with the Vice President only hours

   earlier, was false: "The Vice President and I are in total agreement that the Vice President has the

   power to act."

           100.     On January 6, starting in the early morning hours, the Defendant again turned to

   knowingly false statements aimed at pressuring the Vice President to fraudulently alter the election

   outcome, and raised publicly the false expectation that the Vice President might do so:

                    a.     At l :00 a.m., the Defendant issued a Tweet that falsely claimed, "If Vice
                           President @Mike_Pence comes through for us, we will win the Presidency.
                           Many States want to decertify the mistake they made in certifying incorrect
                           & even fraudulent numbers in a process NOT approved by their State
                           Legislatures (which it must be). Mike can send it back!"

                    b.     At 8: 17 a. m., the Defendant issued a Tweet that falsely stated, "States want
                           to correct their votes, which they now know were based on irregularities
                           and fraud, plus corrupt process never received legislative approval. AJJ
                           Mike Pence has to do is send them back to the States, AND WE WIN. Do
                           it Mike, this is a time for extreme courage!"



                                                   - 36 -
USCA Case #22-3062     Document #2011096       Filed: 08/04/2023  Page 40 of 47
        Case 1:23-cr-00257-TSC Document 1 Filed 08/01/23 Page 37 of 45




           l O 1.   On the morning of January 6, an agent of the Defendant contacted a United States

    Senator to ask him to hand-deliver documents to the Vice President. The agent then facilitated the

   receipt by the Senator's staff of the fraudulent certificates signed by the Defendant's fraudulent

   electors in Michigan and Wisconsin, which were believed not to have been delivered to the Vice

   President or Archivist by mail. When one of the Senator's staffers contacted a staffer for the Vice

   President by text message to arrange for delivery of what the Senator's staffer had been told were

   "[a]ltemate slate[s] of electors for MI and WI because archivist didn't receive them," the Vice

   President's staffer rejected them.

           102.     At 11 :15 a.m., the Defendant called the Vice President and again pressured him to

   fraudulently reject or return Biden's legitimate electoral votes. The Vice President again refused.

   Immediately after the call, the Defendant decided to single out the Vice President in public remarks

   he would make within the hour, reinserting language that he had personally drafted earlier that

   morning-falsely claiming that the Vice President had authority to send electoral votes to the

   states-but that advisors had previously successfuily advocated be removed.

           103.     Earlier that morning, the Defendant had selected Co-Conspirator 2 to join Co-

   Conspirator 1 in giving public remarks before his own. When they did so, based on knowingly

   false election fraud claims, Co-Conspirator 1 and Co-Conspirator 2 intensified pressure on the

   Vice President to fraudulently obstruct the certification proceeding:

                    a.     Co-Conspirator 1 told the crowd that the Vice President could "cast [the
                           ECA] aside" and unilaterally "decide on the validity of these crooked
                           ballots[.]" He also lied when he claimed to "have letters from five
                           legislatures begging us" to send elector slates to the legislatures for review,
                           and called for "trial by combat."

                    b.     Co-Conspirator 2 told the crowd, "[A]ll we are demanding of Vice President
                           Pence is this afternoon at one o'clock he let the legislatures of the state look
                           into this so we get to the bottom of it and the American people know
                           whether we have control of the direction of our government or not. We no


                                                    - 37 -
USCA Case #22-3062     Document #2011096       Filed: 08/04/2023  Page 41 of 47
        Case 1:23-cr-00257-TSC Document 1 Filed 08/01/23 Page 38 of 45




                          longer live in a self-governing republic if we can't get the answer to this
                          question."

           104.    Next, beginning at 11 :56 a.m., the Defendant made multiple knowingly false

    statements integral to his criminal plans to defeat the federal government function, obstruct the

    certification, and interfere with others' right to vote and have their votes counted. The Defendant

    repeated false claims of election fraud, gave false hope that the Vice President might change the

    election outcome, and directed the crowd in front of him to go to the Capitol as a means to obstruct

   the certification and pressure the Vice President to fraudulently obstruct the certification. The

   Defendant's knowingly false statements for these purposes included:

                   a.      The Defendant falsely claimed that, based on fraud, the Vice President
                           could alter the outcome of the election results, stating:

                                  I hope Mike is going to do the right thing. I hope so,
                                  I hope so.

                                  Because if Mike Pence does the right thing, we win
                                  the election. All he has to do-all, this is, this is from
                                  the number one, or certainly one of the top,
                                  Constitutional lawyers in our country-he has the
                                  absolute right to do it. We're supposed to protect our
                                  country, support our country, support our
                                  Constitution, and protect our Constitution.

                                  States want to revote. The states got defrauded.
                                  They were given false information. They voted on
                                  it. Now they want to recertify. They want it back.
                                  All Vice President Pence has to do is send it back to
                                  the states to recertify and we become president and
                                  you are the happiest people.

                   b.      After the Defendant falsely stated that the Pennsylvania legislature wanted
                           "to recertify their votes. They want to recertify. But the only way that can
                           happen is if Mike Pence agrees to send it back," the crowd began to chant,
                           "Send it back."




                                                   - 38 -
USCA Case #22-3062               Document #2011096                  Filed: 08/04/2023          Page 42 of 47
           Case 1:23-cr-00257-TSC             Document 1       Filed 08/01/23     Page 39 of 45




                      c.      The Defendant also said that regular rules no longer applied, stating, "And
                              fraud breaks up everything, doesn't it? When you catch somebody in a
                              fraud, you're allowed to go by very different rules."

                      d.      Finally, after exhorting that "we fight. We fight like hell. And if you don't
                              fight like hell, you're not going to have a country anymore," the Defendant
                              directed the people in front of him to head to the Capitol, suggested he was
                              going with them, and told them to give Members of Congress "the kind of
                              pride and boldness that they need to take back our country."

              105.    During and after the Defendant's remarks, thousands of people marched toward the

   Capitol.

                     The Defcncfai1t's Exploitation of the Violence and Chaos.at the Capitol

              106.    Shortly before 1 :00 p.m., the Vice President issued a public statement explaining

   that his role as President of the Senate at the certification proceeding that was about to begin did

   not include "unilateral authority to determine which electoral votes should be counted and which

   should not."

              107.    Before the Defendant had finished speaking, a crowd began to gather at the Capitol.

   Thereafter, a mass of people-including individuals who had traveled to Washington and to the

   Capitol at the Defendant's direction-broke through barriers cordoning off the Capitol grounds

   and advanced on the building, including by violently attacking law enforcement officers trying to

   secure it.

              108.    The Defendant, who had returned to the White House after concluding his remarks,

   watched events at the Capitol unfold on the television in the dining room next to the Oval Office.

              109.    At 2:13 p.m., after more than an hour of steady, violent advancement, the crowd at

   the Capitol broke into the building.

              110.     Upon receiving news that individuals had breached the Capitol, the Defendant's

   advisors told him that there was a riot there and that rioters had breached the building. When




                                                      - 39 -
USCA Case #22-3062     Document #2011096       Filed: 08/04/2023  Page 43 of 47
        Case 1:23-cr-00257-TSC Document 1 Filed 08/01/23 Page 40 of 45




    advisors urged the Defendant to issue a calming message aimed at the rioters, the Defendant

    refused, instead repeatedly remarking that the people at the Capitol were angry because the election

    had been stolen.

           111.    At 2:24 p.m., after advisors bad left the Defendant alone in his dining room, the

    Defendant issued a Tweet intended to further delay and obstruct the certification: "Mike Pence

    didn't have the courage to do what should have been done to protect our Country and our

    Constitution, giving States a chance to certify a corrected set of facts, not the fraudulent or

    inaccurate ones which they were asked to previously certify. USA demands the truth!"

           112.    One minute later, at 2:25 p.rn., the United States Secret Service was forced to

    evacuate the Vice President to a secure location.

           113.    At the Capitol, throughout the afternoon, members of the crowd chanted, "Hang

    Mike Pence!"; "Where is Pence? Bring him out!"; and "Traitor Pence!"

           114.    The Defendant repeatedly refused to approve a message directing rioters to leave

    the Capitol, as urged by his most senior advisors-including the White House Counsel, a Deputy

    White House Counsel, the Chief of Staff, a Deputy Chief of Staff, and a Senior Advisor. Instead,

    the Defendant issued two Tweets that did not ask rioters to leave the Capitol but instead falsely

    suggested that the crowd at the Capitol was being peaceful, including:

                   a.      At 2:38 p.m., "Please support our Capitol Police and Law Enforcement.
                           They are truly on the side of our Country. Stay peaceful!"

                   b.      At 3: 13 p.m., "I am asking for everyone at the U.S. Capitol to remain
                           peaceful. No violence! Remember, WE are the Party of Law & Order -
                           respect the Law and our great men and women in Blue. Thank you!"

           115.    At 3:00 p.rn., the Defendant had a phone call with the Minority Leader of the United

    States House of Representatives. The Defendant told the Minority Leader that the crowd at the

    Capitol was more upset about the election than the Minority Leader was.



                                                   - 40 -
USCA Case #22-3062
        Case           Document Document
             1:23-cr-00257-TSC  #2011096 1 FiledFiled: 08/04/2023
                                                 08/01/23   Page 41 ofPage
                                                                       45 44 of 47




            116.    At 4: 17 p.m., the Defendant released a video message on Twitter that he had just

    taped in the White House Rose Garden. In it, the Defendant repeated the knowingly false claim

    that "[w]e had an election that was stolen from us," and finally asked individuals to leave the

    Capitol, while telling them that they were "very special" and that "we love you."

           117.     After the 4: 17 p.m. Tweet, as the Defendant joined others in the outer Oval Office

    to watch the attack on the Capitol on television, the Defendant said, "See, this is what happens

    when they try to steal an election. These people are angry. These people are really angry about

    it. This is what happens."

            l 18.   At 6:01 p.m., the Defendant tweeted, "These are the things and events that happen

    when a sacred landslide election victory is so unceremoniously & viciously stripped away from

    great patriots who have been badly & unfairly treated for so long. Go home with love & in peace.

    Remember this day forever!"

           119.     On the evening of January 6, the Defendant and Co-Conspirator 1 attempted to

    exploit the violence and chaos at the Capitol by calling lawmakers to convince them, based on

    knowingly false claims of election fraud, to delay the certification, including:

                    a.     The Defendant, through White House aides, attempted to reach two United
                           States Senators at 6:00 p.m.

                    b.     From 6:59 p.m. until 7: 18 p.m., Co-Conspirator I placed calls to five United
                           States Senators and one United States Representative.

                    c.     Co-Conspirator 6 attempted to confirm phone numbers for six United States
                           Senators whom the Defendant had directed Co-Conspirator 1 to call and
                           attempt to enlist in further delaying the certification.

                    d.     In one of the calls, Co-Conspirator 1 left a voicemail intended for a United
                           States Senator that said, "We need you, our Republican friends, to try to just
                           slow it down so we can get these legislatures to get more information to
                           you. And I know they're reconvening at eight tonight but the only strategy
                           we can follow is to object to numerous states and raise issues so that we get
                           ourselves into tomorrow-ideally until the end of tomorrow."


                                                   - 41 -
USCA Case #22-3062            Document #2011096                    Filed: 08/04/2023           Page 45 of 47
           Case 1:23-cr-00257-TSC           Document 1        Filed 08/01/23      Page 42 of 45




                   e.      In another message intended for another United States Senator, Co-
                           Conspirator 1 repeated knowingly false allegations of election fraud,
                           including that the vote counts certified by the states to Congress were
                           incorrect and that the governors who had certified knew they were incorrect;
                           that "illegal immigrants" had voted in substantial numbers in Arizona; and
                           that "Georgia gave you a number in which 65,000 people who were
                           underage voted." Co-Conspirator 1 also claimed that the Vice President's
                           actions had been surprising and asked the Senator to "object to every state
                           and kind of spread this out a little bit like a filibuster[.]"

           120.    At 7:01 p.m., while Co-Conspirator 1 was calling United States Senators on behalf

   of the Defendant, the White House Counsel called the Defendant to ask him to withdraw any

   objections and allow the certification. The Defendant refused.

           121.    The attack on the Capitol obstructed and delayed the certification for approximately

   six hours, until the Senate and House of Representatives came back into session separately at

   8:06 p.m. and 9:02 p.m., respectively, and came together in a Joint Session at 11 :35 p.m.

           122.    At 11 :44 p.m., Co-Conspirator 2 emailed the Vice President's Counsel advocating

   that the Vice President violate the law and seek further delay of the certification. Co-Conspirator 2

   wrote, "I implore you to consider one more relatively minor violation [ of the ECA] and adjourn

   for 1 0 days to allow the legislatures to finish their investigations, as well as to allow a full forensic

   audit of the massive amount of illegal activity that has occurred here."

           123.    At 3 :41 a.m. on January 7, as President of the Senate, the Vice President announced

   the certified results of the 2020 presidential election in favor ofBiden.

           124.    The Defendant and his co-conspirators committed one or more of the acts to effect

   the object of the conspiracy alleged above in Paragraphs 13, 15-16, 18-22, 24, 26, 28, 30-33, 35,

   37-39,41,43-44,46, 50, 52, 54,56,57-64,67, 71-75, 78-82,84,85, 87-97,99-100, 102-104, 111,

   114, 116, 118-119, and 122.

                        (In violation of Title 18, United States Code, Section 371)




                                                     - 42 -
USCA Case #22-3062            Document #2011096                  Filed: 08/04/2023          Page 46 of 47
          Case 1:23-cr-00257-TSC           Document 1       Filed 08/01/23     Page 43 of 45




                                         COUNT TWO
               (Conspiracy to Obstruct an Official Proceeding-18 U.S.C. § 1512(k))

           125.   The allegations contained in paragraphs 1 through 4 and 8 through 123 of this

   Indictment are re-alleged and fulJy incorporated here by reference.

           126.   From on or about November 14, 2020, through on or about January 7, 2021, in the

   District of Columbia and elsewhere, the Defendant,

                                         DONALD J. TRUMP,

   did knowingly combine, conspire, confederate, and agree with co-conspirators, known and

   unknown to the Grand Jury, to corruptly obstruct and impede an official proceeding, that is, the

   certification of the electoral vote, in violation of Title 18, United States Code, Section 1512(c)(2).

                     (In violation ofTitle 18, United States Code, Section 1512(k))




                                                   - 43 -
USCA Case #22-3062
        Case           Document Document
             1:23-cr-00257-TSC  #2011096 1 FiledFiled: 08/04/2023
                                                 08/01/23   Page 44 ofPage
                                                                       45 47 of 47




                                               COUNT THREE
                             (Obstruction of, and Attempt to Obstruct, an Official
                                   Proceeding-18 U.S.C. §§ 1512(c)(2), 2)

            127.    The allegations contained in paragraphs 1 through 4 and 8 through 123 of this

    Indictment are re-alleged and fully incorporated here by reference.

            128.    From on or about November 14, 2020, through on or about January 7, 2021, in the

    District of Columbia and elsewhere, the Defendant,

                                            DONALD J. TRUMP,

    attempted to, and did, corruptly obstruct and impede an official proceeding, that is, the certification

    of the electoral vote.

                   (In violation of Title 18, United States Code, Sections 1512( c )(2), 2)




                                                     - 44 -
